    Case 1:23-cv-00358-JRR    Document 116-4   Filed 11/19/24   Page 1 of 38



                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND
                            BALTIMORE DIVISION

JASON ALFORD et al.,

                Plaintiffs,

      v.                                 Case No. 1:23-cv-00358-JRR

THE NFL PLAYER DISABILITY &
SURVIVOR BENEFIT PLAN et al.,

                Defendants.


                       MEMORANDUM IN SUPPORT OF
           DEFENDANTS’ JOINT MOTION FOR SUMMARY JUDGMENT OF
                  PLAINTIFF JAMIZE OLAWALE’S CLAIMS
       Case 1:23-cv-00358-JRR                       Document 116-4 Filed 11/19/24                                  Page 2 of 38
                                                   TABLE OF CONTENTS

                                                                                                                                         Page

INTRODUCTION ......................................................................................................................... 1
STATEMENT OF UNDISPUTED MATERIAL FACTS ............................................................ 3
LEGAL STANDARD.................................................................................................................. 12
ARGUMENT ............................................................................................................................... 13
          I.         THE BOARD DID NOT ABUSE ITS DISCRETION IN DETERMINING
                     THAT MR. OLAWALE WAS NOT ENTITLED TO BENEFITS UNDER
                     THE PLAN’S TERMS ........................................................................................ 13
                     A.         The Board’s Decision Was Consistent With the Plan’s Terms,
                                Which Are Plain and Unambiguous. ....................................................... 15
                     B.         The Board’s Decision Was Consistent with the Plan’s Purposes
                                and Goals. ................................................................................................ 17
                     C.         The Materials the Board Considered Were Adequate to Support Its
                                Decision. .................................................................................................. 17
                     D.         The Remaining Booth Factors All Support Finding that the Board’s
                                Decision Was Reasonable. ....................................................................... 23
          II.        DEFENDANTS ARE ENTITLED TO SUMMARY JUDGMENT ON
                     COUNT II BECAUSE THE DENIAL LETTERS SENT TO MR.
                     OLAWALE COMPLY WITH ERISA’S CLAIMS PROCEDURES ................. 27
          III.       THE BOARD A CONDUCTED FULL AND FAIR REVIEW OF MR.
                     OLAWALE’S BENEFITS CLAIM ..................................................................... 29
          IV.        MR. OLAWALE’S ALLEGATIONS OF BREACH OF FIDUCIARY
                     DUTY FALL FAR SHORT OF CREATING A TRIABLE ISSUE OF
                     FACT ................................................................................................................... 30
CONCLUSION ............................................................................................................................ 30




                                                                       i
       Case 1:23-cv-00358-JRR Document 116-4 Filed 11/19/24                                                   Page 3 of 38
                             TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases
Balkin v. Unum Life Ins. Co.,
   2024 WL 1346789 (D. Md. Mar. 29, 2024)............................................................................ 22
Bidwell v. Garvey,
   743 F. Supp. 393 (D. Md. 1990) ............................................................................................. 30
Blackshear v. Reliance Standard Life Ins. Co.,
   509 F.3d 634 (4th Cir. 2007) .................................................................................................. 16
Booth v. Wal-Mart Stores, Inc. Assocs. Health & Welfare Plan,
   201 F.3d 335 (4th Cir. 2000) ........................................................................................... passim
Boyce v. Eaton Corp. Long Disability Plan,
   2017 WL 3037392 (W.D.N.C. July 18, 2017) ........................................................................ 26
Boyd v. Bell,
   796 F. Supp. 2d 682 (D. Md. 2011) .................................................................................. 13, 26
Brown v. Covestro LLC Welfare Benefits Plan,
   2023 WL 8481914 (W.D. Pa. Nov. 15, 2023) R&R adopted, 2023 WL
   8481352 (W.D. Pa. Dec. 7, 2023) ........................................................................................... 27
Brundle ex rel. Constellis Emp. Stock Ownership Plan v. Wilmington Tr., N.A.,
   919 F.3d 763 (4th Cir. 2019) .................................................................................................. 24
Celotex Corp. v. Catrett,
   477 U.S. 317, 324 (1986) ........................................................................................................ 12
Chao v. Malkani,
   452 F.3d 290 (4th Cir. 2006) .................................................................................................. 30
Chavis v. Plumbers & Steamfitters Loc. 486 Pension Plan,
   2018 WL 4052182 .................................................................................................................. 29
CIGNA Corp. v. Amara,
   563 U.S. 421 (2011) ................................................................................................................ 17
Colucci v. Agfa Corp. Severance Pay Plan,
   431 F.3d 170 (4th Cir. 2005) abrogated on other grounds by Champion v.
   Black & Decker (U.S.) Inc., 550 F.3d 353, 355 (4th Cir. 2008) ................................. 15, 16, 26
Cosey v. Prudential Ins. Co. of Am.,
   735 F.3d 161 (4th Cir. 2013) .................................................................................................. 14
Courson v. Bert Bell NFL Player Ret. Plan,
   75 F. Supp. 2d 424 (W.D. Pa. 1999), aff’d, 214 F.3d 136 (3d Cir. 2000) .............................. 26
Dimry v. Bert Bell/Pete Rozelle NFL Player Ret. Plan,
   487 F. Supp. 3d 807 (N.D. Cal. 2020) aff'd and remanded on other grounds,
   855 F. App'x 332 (9th Cir. 2021) ............................................................................................ 25

                                                                    ii
       Case 1:23-cv-00358-JRR Document 116-4 Filed 11/19/24                                                  Page 4 of 38
                             TABLE OF AUTHORITIES
                                   (Continued)
                                                                                                                             Page(s)

Donnell v. Metro. Life Ins. Co.,
   165 F. App’x 288 (4th Cir. 2006), aff’d, 584 F. App’x 109 (4th Cir. 2014) .......................... 18
Elliott v. Sara Lee Corp.,
    190 F.3d 601 (4th Cir. 1999) ............................................................................................ 19, 20
Evans v. Eaton Corp. Long Term Disability Plan,
   514 F.3d 315 (4th Cir. 2008) ............................................................................................ 14, 17
Everette v. Liberty Life Assurance Co. of Bos.,
   2017 WL 2829673 (D. Md. June 29, 2017) ............................................................................ 26
Firestone Tire & Rubber Co. v. Bruch,
   489 U.S. 101 (1989) .......................................................................................................... 13, 15
Fortier v. Principal Life Ins. Co.,
   666 F.3d 231 (4th Cir. 2012) .................................................................................................. 25
Friz v. J&H Marsh & McLennan, Inc.,
    2 F. App’x 277 (4th Cir. 2001) ......................................................................................... 17, 24
Garner v. Cent. States, Se. & Sw. Areas Health & Welfare Fund Active Plan,
   31 F.4th 854 (4th Cir. 2022) ................................................................................................... 24
Geddes v. United Staffing All. Emp. Med. Plan,
   469 F.3d 919 (10th Cir. 2006) ................................................................................................ 24
Geiger v. Zurich Am. Ins. Co.,
   72 F.4th 32 (4th Cir. 2023) ............................................................................................... 13, 14
Giles v. Bert Bell/Pete Rozelle NFL Player Ret. Plan,
   925 F. Supp. 2d 700 (D. Md. 2012) ............................................................................ 14, 15, 26
Gregg v. Transp. Workers of Am. Int’l,
   343 F.3d 833 (6th Cir. 2003) .................................................................................................. 24
Hall v. Standard Ins. Co.,
   2005 WL 348266 (W.D. Va. Feb. 10, 2005) .......................................................................... 26
Harrison v. Wells Fargo Bank, N.A.,
   773 F.3d 15 (4th Cir. 2014) .................................................................................................... 14
Hayes v. Prudential Ins. Co. of Am.,
   60 F.4th 848 (4th Cir. 2023) ................................................................................................... 13
Hilton v. Unum Life Ins. Co. of Am.,
    967 F. Supp. 2d 1114 (E.D. Va. 2013) ................................................................................... 24
Johnson v. Bert Bell/Pete Rozelle NFL Player Ret. Plan,
   468 F.3d 1082 (8th Cir. 2006) ................................................................................................ 25




                                                                  iii
       Case 1:23-cv-00358-JRR Document 116-4 Filed 11/19/24                                                          Page 5 of 38
                             TABLE OF AUTHORITIES
                                   (Continued)
                                                                                                                                      Page(s)

Kane v. UPS Pension Plan Bd. of Trustees,
   2013 WL 6502874 (D. Md. Dec. 11, 2013) ............................................................................ 18
Kress v. Food Emps. Lab. Rels. Ass’n,
   391 F.3d 563 (4th Cir. 2004) .................................................................................................. 17
Metro. Life Ins. Co. v. Glenn,
   554 U.S. 108 (2008) ................................................................................................................ 25
Mid Atl. Med. Servs., LLC v. Sereboff,
   407 F.3d 212 (4th Cir. 2005), aff’d, 547 U.S. 356 (2006) ...................................................... 15
Morris v. Nat’l Football League Ret. Bd.,
  833 F. Supp. 2d 1374 (S.D. Fla. 2011) aff’d, 482 F. App’x 440 (11th Cir.
  2012) ....................................................................................................................................... 26
Mullins v. AT&T Corp.,
   424 F. App’x 217 (4th Cir. 2011) ........................................................................................... 23
Pender v. Bank of Am. Corp.,
   788 F.3d 354 (4th Cir. 2015) .................................................................................................. 17
Ricci v. DeStefano,
   557 U.S. 557 (2009) ................................................................................................................ 12
Schkloven v. Hartford Life & Accident Ins. Co.,
   2022 WL 2869266 (D. Md. July 21, 2022)....................................................................... 14, 18
Smith v. NFL Player Disability & Neurocognitive Benefit Plan,
   2024 WL 722594 (W.D. Tex. Jan. 9, 2024) R&R adopted, 2024 WL 1123588
   (W.D. Tex. Mar. 13, 2024) ......................................................................................... 13, 16, 23
Stewart v. Bert Bell/Pete Rozelle NFL Player Ret. Plan,
   2012 WL 2374661 (D. Md. June 19, 2012) ................................................................ 24, 25, 26
Stolt-Nielsen S.A. v. AnimalFeeds Int’l Corp.,
    559 U.S. 662 (2010) ................................................................................................................ 15
Switzer v. Benefits Admin. Comm.,
   2014 WL 4052855 (D. Md. Aug. 13, 2014) ........................................................................... 27
Tatum v. RJR Pension Inv. Comm.,
   761 F.3d 346 (4th Cir. 2014) .................................................................................................. 24
United States v. 8.929 Acres of Land in Arlington Cnty., Va.,
   36 F.4th 240 (4th Cir. 2022) ................................................................................................... 12
US Airways, Inc. v. McCutchen,
   569 U.S. 88 (2013) .................................................................................................................. 15
Varity Corp. v. Howe,
   516 U.S. 489 (1996) ................................................................................................................ 29


                                                                       iv
       Case 1:23-cv-00358-JRR Document 116-4 Filed 11/19/24                                                      Page 6 of 38
                             TABLE OF AUTHORITIES
                                   (Continued)
                                                                                                                                  Page(s)

Vaughan v. Celanese Ams. Corp.,
   339 F. App’x 320 (4th Cir. 2009) ............................................................................... 14, 23, 25
Waldoch v. Medtronic,
   757 F.3d 822 (8th Cir. 2014) .................................................................................................. 24
Williams v. Metro. Life Ins. Co.,
   609 F.3d 622 (4th Cir. 2010) .................................................................................................. 13
Wilson v. UnitedHealthcare Ins. Co.,
   27 F.4th 228 (4th Cir. 2022) ....................................................................................... 18, 23, 25
Youboty v. NFL Player Disability & Neurocognitive Benefit Plan,
   2020 WL 5628020 (S.D. Tex. Aug. 17, 2020) ....................................................................... 25
Youboty v. NFL Player Disability,
   856 F. App’x 497 (5th Cir. 2021) ............................................................................... 13, 16, 23
Statutes
29 U.S.C. § 1002(16)(A)................................................................................................................. 3
29 U.S.C. § 1002(16)(B) ................................................................................................................. 3
29 U.S.C. § 1002(37)(A)................................................................................................................. 3
29 U.S.C. § 1132(a)(1)(B) ............................................................................................................ 15
Rules
Fed. R. Civ. P. 56(a) ..................................................................................................................... 12
Regulations
29 C.F.R. § 2560.503-1(g)(1) ......................................................................................................... 7
29 C.F.R. § 2560.503-1(j)(6) .................................................................................................. 27, 28
29 C.F.R. § 2560.503-1(o) .............................................................................................................. 9




                                                                      v
     Case 1:23-cv-00358-JRR          Document 116-4         Filed 11/19/24      Page 7 of 38



                                       INTRODUCTION

       Plaintiff Jamize Olawale is one of nine plaintiffs bringing disparate Employee Retirement

Income Security Act (“ERISA”) claims within this single lawsuit to contest the decision on his

applications for disability benefits. Mr. Olawale alleges that his 2021 application for total-and-

permanent (“T&P”), line-of-duty (“LOD”), and neurocognitive (“NC”) disability benefits under

the NFL Player Disability & Survivor Benefit Plan (the “Plan”) was improperly denied. He

alleges the Board charged with administering the Plan failed to provide adequate notice or a full

and fair review of that claim and that the Board should be removed for breaching its fiduciary

duties, both by failing to properly review his claim and by failing to ensure that the Neutral

Physicians who evaluated him were unbiased. He makes these arguments even though he

subsequently applied for and was granted LOD benefits by the same Board.

       Defendants are entitled to summary judgment as to each of Mr. Olawale’s claims. His

benefits claim (Count I) is foreclosed by the plain text of the Plan—negotiated by the NFL teams

and Mr. Olawale’s union—which expressly provides that NFL players are not entitled to benefits

unless at least one Neutral Physician finds that they meet the Plan’s standard for disability. None

of the eight Neutral Physicians who evaluated Mr. Olawale for his 2021 application and appeal

found that he met the Plan’s eligibility requirements, and the Board did not abuse its discretion in

relying on the Neutral Physicians’ well-reasoned reports.

       Mr. Olawale likewise cannot prevail on his claim that his denial notices were defective

(Count II) because an examination of the relevant notices makes plain that they provided the

required information. His attacks on the Board’s processes, including his assertions that the

Board breached its fiduciary duties, fare no better (Counts III, V). Although the Court was

required at the motion to dismiss stage to credit Plaintiffs’ unsupported allegations that the Board




                                                 1
      Case 1:23-cv-00358-JRR                Document 116-4            Filed 11/19/24         Page 8 of 38



“designed a sham claim process” that uses “financial incentives” to induce Neutral Physicians to

find that players are not disabled, Pls.’ Am. Class Action Compl. (“AC” or the “Complaint”)

¶¶ 334-36, ECF No. 56, the undisputed facts demonstrate the contrary. The eight Neutral

Physicians who evaluated Mr. Olawale were assigned based solely on neutral criteria, were

directed to provide their best professional judgment, and were not offered any financial incentive

to reach a particular determination. Decl. of H. Vincent in Support of Defs.’ Joint MSJ of Pl. J.

Olawale’s Claims (“Vincent Decl.”) ¶¶ 20, 22. And expert analysis of six years of Neutral

Physician assignments and compensation disproves Plaintiffs’ theories about any supposed

financial incentive to deny claims. See Decl. of D. Lasater Support of Defs.’ Opp. to Pl. Mot. for

Class Cert. (“Lasater Decl.”) ¶¶ 7-10.             Mr. Olawale’s allegations of a “sham process” are

particularly baseless given that the Plan has paid nearly $1.2 billion in disability benefits 1 from

the beginning of the 2017 plan year through the 2022 plan year to thousands of players, and has

awarded benefits in approximately 51.2% of T&P applications, 50.8% of LOD applications, and

23.9% of NC applications between January 1, 2018 and July 31, 2024. See Lasater Decl. ¶ 42 &

Table 4; Miller Decl. ¶¶ 5-6.

         Mr. Olawale cannot maintain his claims for fiduciary breach in Count V, because these

allegations are derivative of the same alleged failures underlying Counts I, II, and III. Moreover,

even if the Court were to find that the Board committed an error in denying Mr. Olawale’s claim

(which finds no support in the record) or that Mr. Olawale’s notices were deficient (they were


1
  This figure does not include disability benefits paid out of the Bert Bell/Pete Rozelle NFL Player Retirement Plan
(“Retirement Plan”). See Ex. A, Apr. 1, 2021 Disability Plan Doc. (“DPD” or “2021 DPD”), at JO-6 (explaining
that a portion of disability benefits are still paid out of the Retirement Plan); Ex. B, Apr. 1, 2017 Disability Plan
Doc. (“2017 DPD”), at JO-113 (Retirement Plan will continue to pay certain T&P and line-of-duty (“LOD”)
benefits); Decl. of M. Miller in Support of Defs.’ Joint MSJs (“Miller Decl.”) ¶ 4. “Ex.” refers to the exhibits
attached to Mr. Vincent’s declaration. Exhibits are sequentially paginated, beginning with “JO-1,” and omitting
leading zeroes.




                                                         2
     Case 1:23-cv-00358-JRR         Document 116-4        Filed 11/19/24     Page 9 of 38



not), these kinds of alleged errors do not even come close to meeting the standard to demonstrate

a fiduciary breach. For these reasons, as set forth more fully below, the Court should enter

summary judgment for Defendants on all of Mr. Olawale’s claims.

                  STATEMENT OF UNDISPUTED MATERIAL FACTS

The Disability Plan & The Board

       The Plan is a Taft-Hartley, multi-employer benefit plan established, negotiated, and

maintained through collective bargaining between the NFL Players Association (“Players

Association”), which represents NFL players; and the NFL Management Council (“Management

Council”), which represents the NFL teams. See DPD JO-6; 29 U.S.C. §§ 1002(16)(A)-(B),

1002(37)(A). It is governed by ERISA. See DPD JO-6.

       For the 2017 through 2022 plan years, the NFL teams contributed $1.33 billion to fund

the Plan; in the 2022 plan year alone, the teams contributed $298,400,000. Miller Decl. ¶ 3.

During that time, the Plan paid nearly $1.2 billion in benefits to former NFL players and their

beneficiaries, including, in 2022, $257,463,357 to roughly 23% of Plan participants, for an

average annual benefit of $86,455. Id. ¶¶ 5-6.

       The Board is the administrator and named fiduciary of the Plan. DPD §§ 1.2, 9.2; see 29

U.S.C. §§ 1002(16)(A)-(B). The Board has six voting members, three appointed by the Players

Association and three by the Management Council, DPD § 9.1; all Players Association members

of the Board are former NFL players, Vincent Decl. ¶ 31. The Board is “responsible for

implementing and administering the Plan, subject to the terms of the Plan,” and it has “full and

absolute discretion, authority, and power to interpret, control, implement, and manage the Plan.”

DPD §§ 9.2, 9.9; see 29 U.S.C. § 1002(21)(A); see also AC ¶ 43. The Board’s discretion

extends to “decid[ing] claims for benefits”; adopting procedures for the Plan’s administration;




                                                 3
    Case 1:23-cv-00358-JRR          Document 116-4        Filed 11/19/24     Page 10 of 38



and delegating certain tasks to other persons—including advisors, counsel, consultants, and

physicians.   DPD §§ 9.2(c), (e), (f).   The Plan specifies that the Board is entitled to rely

conclusively upon the advice or opinion of such persons. Id. § 9.2(f). Neither Committee nor

Board members are paid for their service, and no Committee or Board member receives any

remuneration or pecuniary gain if there is any residual or remainder in Plan assets after benefits

are paid. Miller Decl. ¶ 7.

Neutral Physicians and Benefits Eligibility

       Since 2017, the Plan has included a collectively bargained “Neutral Rule,” which

provides that a player is only eligible for benefits if at least one Neutral Physician finds him

disabled under the relevant Plan standard. Vincent Decl. ¶ 14; 2017 DPD §§ 3.1(c) (T&P

standard), 5.1(b) (LOD standard), 6.1(e) (NC standard). “Neutral Physicians” is defined by the

Plan to mean physicians or other health care professionals who “examine each Player referred by

the Plan and … provide such report or reports on the Player’s condition as necessary for the

Disability Board or Disability Initial Claims Committee to make an adequate determination as to

that Player’s physical or mental condition.” DPD §§ 1.25, 12.3(b). Neutral Physicians are

“jointly designate[d]” by the Players Association and Management Council to a panel available

to conduct medical examinations; the Board plays no role in that process. Vincent Decl. ¶ 15.

       When a former player submits an application or appeal, the NFL Player Benefits Office

(“NFLPBO”) assigns one or more Neutral Physicians from the panel to evaluate the applicant.

DPD §§ 3.3(a), 5.4(b), 6.2(d); Vincent Decl. ¶¶ 19-20. Assignments are made solely using

neutral criteria such as area of specialty, proximity, and availability to conduct a timely

evaluation.   Vincent Decl. ¶ 20.    Neither the NFLPBO nor the Board maintains statistics

concerning individual Neutral Physicians’ past disability determinations. Id.; Miller Decl. ¶ 8.




                                                4
     Case 1:23-cv-00358-JRR                Document 116-4             Filed 11/19/24         Page 11 of 38



Neutral Physicians “must (1) certify that any opinions offered … will be provided without bias

for or against any Player, and (2) accept and provide services pursuant to a ‘flat-fee’ agreement,

such that the amount of compensation provided by the Plan will not depend on whether his or her

opinions tend to support or refute any given Player’s application for benefits.” DPD § 12.3(a). 2

Neutral Physicians complete standard Physician Report Forms and write narrative reports for

each examination (“PRF”). Vincent Decl. ¶ 26; DPD § 12.3(b). Since October 1, 2020, players

are required to submit medical records with their applications. DPD §§ 3.3(a), 5.4(b), 6.2(d).

         For a player to be awarded T&P benefits, a Neutral Physician must find that the player

“is substantially unable to engage in any occupation or employment for remuneration or profit”

and that “such condition is permanent.” Id. § 3.1(d); AC ¶ 60. A disability is “permanent” if it

has “persisted or is expected to persist for at least twelve months from the date of its occurrence,

excluding any reasonably possible recovery period.” DPD § 3.1(e)(3); AC ¶ 62. If no Neutral

Physician finds the player T&P disabled, the player will not be eligible for T&P benefits

“regardless of other fact(s), statement(s), or determination(s), by any other person or entity,

contained in the administrative record.” DPD § 3.1(d); see Vincent Decl. ¶ 14.

         To receive LOD benefits, a player must have incurred a “substantial disablement”

“arising out of League football activities.” Id. § 5.1(c); AC ¶ 76. A “substantial disablement,”

for applications based on orthopedic impairments received on or after April 1, 2020, are those

impairments due to League football-related injuries that are, in the aggregate, “rated at least 9

points” on the Plan’s Point System for Orthopedic Impairments (the “Point System”), which

“assigns points to each orthopedic impairment recognized under the Plan.” DPD §§ 5.1(c),


2
 Neutral Physicians’ contracts similarly require them to “personally conduct each test and examination, and prepare
each report, according to the highest applicable professional standards, without any bias or favoritism for or against
any Player.” See, e.g., Ex. C, Dr. Paul Saenz Contract, at JO-218.




                                                          5
    Case 1:23-cv-00358-JRR          Document 116-4         Filed 11/19/24    Page 12 of 38



5.5(a)(4)(B), 12.3, JO-71-84 (App’x A); AC ¶ 73. “A player is awarded a specified number of

points agreed to by the Players Association and Management Council for each orthopedic

impairment, but only where that impairment both arose out of League football activities and has

persisted or is expected to persist for at least 12 months from the date of its occurrence.” DPD

JO-71. If no Neutral Physician awards the player the required nine points, the “threshold

requirement” is not met, and the player will not be eligible for LOD benefits “regardless of any

other fact(s), statement(s), or determination(s), by any other person or entity, contained in the

administrative record.” Id. § 5.1(b); see Vincent Decl. ¶ 14.

       To receive NC benefits, a Neutral Physician must find that he “has mild or moderate

neurocognitive impairment.” DPD § 6.1(e); AC ¶ 80. A “mild impairment” is a “mild objective

impairment in one or more domains of neurocognitive functioning which reflect acquired brain

dysfunction, but not severe enough to interfere with his ability to independently perform

complex activities of daily living or to engage in any occupation for remuneration or profit.”

DPD § 6.2(a); AC ¶ 77. A “moderate impairment” is a “mild-moderate objective impairment in

two or more domains of neurocognitive functioning which reflect acquired brain dysfunction and

which may require use of compensatory strategies and/or accommodations in order to

independently perform complex activities of daily living or to engage in any occupation for

remuneration or profit.” DPD § 6.2(b); AC ¶ 78. If no Neutral Physician finds the player has a

mild or moderate impairment, the “threshold requirement” is not met, and the player is ineligible

for NC benefits “regardless of any other fact(s), statement(s), or determination(s), by any other

person or entity, contained in the administrative record.” DPD § 6.1(e); see Vincent Decl. ¶ 14.

       The NFLPBO holds orientation sessions for newly appointed Neutral Physicians, where it

provides and explains the relevant Orientation Manual for the physician’s specialty, the




                                                6
    Case 1:23-cv-00358-JRR           Document 116-4        Filed 11/19/24      Page 13 of 38



Disability Plan Summary Plan Description (“SPD”), and other key information. Vincent Decl.

¶ 28; DPD JO-71-84. The Orientation Manuals direct the physicians to personally evaluate

players, review and evaluate all submitted records, conduct examinations and prepare reports to

the “highest professional standards without any bias or favoritism for or against any Player,”

complete reports no later than 10 days after an examinations, verify that test results and other

data are accurate and thorough, and have no conflict of interest. Ex. D, Ortho. Manual, at JO-

224; Ex. E, Psych. Manuals, at JO-254 (2019), 283 (2023); Ex. F, Neuro. Manuals, at JO-312

(2018), 374 (2024); Ex. G, General Manual, at JO-440.

Claims Process

       Players may apply for benefits online or by mail and are directed to include information

about any and all impairments they believe support their application. Ex. H, Oct. 2022 SPD, at

JO-493. Upon receipt of an application, the NFLPBO assigns one or more Neutral Physicians to

examine the player, and the Neutral Physician(s) send PRFs back to the NFLPBO after

completing their examinations. DPD §§ 3.3(a), 5.4(b), 6.2(d); see Vincent Decl. ¶ 19. The Plan

provides that a Committee of three members—one appointed by the Players Association, one

appointed by the Management Council, and the Medical Director, DPD § 9.4(a)—makes the

initial benefits determination, based on the Neutral Physicians’ reports and the information the

player submits. Id. §§ 3.1(e), 5.1(d), 6.1(f), 9.4-9.6. The Committee members have access to all

application records through an online portal. Vincent Decl. ¶ 31. If the Committee finds the

player eligible, benefits are awarded. See DPD § 13.14(a). If the Committee finds the player

ineligible, including because no Neutral Physician found the player disabled, the Committee

advises the player of the “specific reason(s),” the relevant Plan provisions, that he is entitled to

free copies of all “relevant” records, and that he may appeal to the Board. Id.; see 29 C.F.R.




                                                 7
    Case 1:23-cv-00358-JRR             Document 116-4    Filed 11/19/24      Page 14 of 38



§ 2560.503-1(g)(1).

        On appeal, the NFLPBO assigns one or more new Neutral Physicians who did not

examine the player at the Committee level to examine the player, and the player may submit

additional information not presented to the Committee. Id. §§ 3.1(e), 5.1(d), 6.1(f), 13.14(a).

The Board has “full and absolute discretion” to “[d]ecide claims for benefits,” and “to determine

the relative weight to give” supplemental information. Id. §§ 9.2, 9.9. The Board reviews the

Committee’s determination but determines de novo whether a player is entitled to benefits. Id.

§§ 3.1(e), 5.1(d), 6.1(f), 13.14(a).

        Board members have access to all information in the record through an online portal.

Vincent Decl. ¶ 31; Decl. of R. Smith in Support of Defs.’ Joint MSJ of Pl. J. Olawale’s Claims

(“Smith Decl.”) ¶ 9. The Management Council and the Players Association separately employ

advisors (“Party Advisors”) to assist with review of applications. Smith Decl. ¶ 6. Prior to the

quarterly Board meetings, the Party Advisors review each individual case file associated with

each appeal that will be presented to the Board. Decl. of P. Reynolds in Support of Defs.’ Joint

MSJs (“Reynolds Decl.”) ¶ 7; Decl. of A. Williams in Support of Defs.’ Joint MSJs (“Williams

Decl.”) ¶ 6. The Party Advisors independently prepare recommendations for their respective

Board members, and also meet with their counterparts to discuss cases. Reynolds Decl. ¶ 9;

Williams Decl. ¶ 8. The Board members from the Management Council and Players Association

convene separately before the full Board meeting to review appeal presentations from their

respective Party Advisors. Reynolds Decl. ¶ 11; Williams Decl. ¶ 10. Representatives of the

NFLPBO and Plan counsel attend these meetings; their role is to observe discussions and provide

guidance on questions from the Party Advisors. Reynolds Decl. ¶ 10; Williams Decl. ¶ 9.

        The full Board convenes for the joint formal Board meeting, where Board members vote




                                                8
    Case 1:23-cv-00358-JRR          Document 116-4       Filed 11/19/24      Page 15 of 38



on each case and memorialize their decisions. Smith Decl. ¶ 15. If the Board finds a player

eligible, benefits are awarded. See DPD §§ 3.1(e), 5.1(d), 6.1(f). If the Board denies the claim,

it provides a written explanation of the denial, citing the specific Plan provisions that are the

basis for the denial, informing the player of his right to sue under the Plan and ERISA. Id.

§ 13.14(a); see also 29 C.F.R. § 2560.503-1(o).

Mr. Olawale’s Application for T&P, LOD, and NC Benefits

       Mr. Olawale’s application for T&P, LOD, and NC benefits, which included roughly 200

pages of supporting records, was received on March 29, 2021. Ex. I, Admin. Record (“AR”), at

JO-554, 663-858; AC ¶ 195. The Committee directed the NFLPBO to refer Mr. Olawale for

evaluations by four Neutral Physicians: Dr. Matthew Norman, a psychiatrist; Dr. Paul Saenz, an

orthopedist; Dr. Eric Brahin, a neurologist; and Dr. Justin O’Rourke, a neuropsychologist. AR

JO-927-291; AC ¶¶ 195, 197-98.

       Each Neutral Physician was appointed to the panel pursuant to the NFLPBO’s standard

procedures. Vincent Decl. ¶¶ 19-22; DPD §§ 3.3(a), 5.4(b), 6.2(d), 12.3(a). Each was paid a flat

fee, and each was assigned to examine Mr. Olawale based on the NFLPBO’s previously

described Neutral Physician selection procedures.     Vincent Decl. ¶ 23; DPD § 12.3.       Each

personally examined Mr. Olawale for disability within the physician’s specialty. AR JO-859-60

(Norman PRF), 876-880 (Saenz PRF), 889-890 (Brahin PRF), 907-908 (O’Rourke PRF), 925-26

(Brahin/O’Rourke Joint PRF); AC ¶¶ 195, 197-98. Each of their reports states that the physician

reviewed all of Mr. Olawale’s medical records; that the report accurately documents the

physician’s findings, which reflect the physician’s best professional judgment; and that the

physician is not biased. AR JO-860, 878, 880, 890, 908, 926. All of these facts are also true of

the four Neutral Physicians who subsequently examined Mr. Olawale. See AR JO-978-83




                                                  9
    Case 1:23-cv-00358-JRR         Document 116-4        Filed 11/19/24     Page 16 of 38



(Elkousy PRF), 993-94 (Rabun PRF), 1012-13 (Okai PRF), 1026-27 (Salisbury PRF), 1038-39

(Okai/Salisbury Joint PRF).

       Mr. Olawale applied for benefits based on the effects of “lasting concussions and

degenerative changes in his knees, ankles, and feet.” AR JO-558. He alleges orthopedic

impairments to his lumbar spine and hips, as well as cognitive and psychiatric impairments. AC

¶¶ 196-98, 200. However, he reported during the Neutral Physician examinations that he was

not under the care of any physician; was not attending physical therapy or receiving alternative

care; was not taking prescription anti-inflammatory analgesic medications; avoids taking over-

the-counter medications; lifts “light weights”; walks on a treadmill; and does “light jogging.”

AR JO-884.

       No Neutral Physician found that Mr. Olawale met the T&P, LOD, or NC disability

standards. The Committee accordingly determined had not met the Neutral Rule threshold

requirements for benefits and denied his claim. AR JO-927-30. The Committee informed Mr.

Olawale of his appeal rights and deadlines and provided him with a copy of the relevant Plan

provisions. AR JO-930-44.

       Mr. Olawale timely appealed to the Board. AR JO-946; cf. AC ¶ 200. Applying the

Plan’s standard, neutral criteria, the NFLPBO assigned referred Mr. Olawale to evaluations by

four different Neutral Physicians: Dr. Hussein Elkousy, an orthopedist; Dr. John Rabun, a

psychiatrist; Dr. Annette Okai, a neurologist; and Dr. David Salisbury, a neuropsychologist. AR

1048, 1050, 1052; Vincent Decl. ¶¶ 19-22; see AC ¶ 200. Each personally examined Mr. Alford,

and none found him disabled. AR JO-978-83, 993-94, 1012-13, 1026-27, 1038-39.

       Dr. Rabun noted that Mr. Olawale “did not voice or endorse any negative thoughts about

himself such as worthlessness or hopelessness,” and found him to be not depressed. AR JO-




                                              10
    Case 1:23-cv-00358-JRR         Document 116-4        Filed 11/19/24      Page 17 of 38



1010. Dr. Okai concluded that Mr. Olawale’s self-reported complaints are “not consistent with

testing,” which showed “no cognitive impairment,” and, neurologically no deficits. AR JO-

1025. And Dr. Salisbury found that Mr. Olawale had “generally preserved cognitive functioning

at this time which would not meet criteria for a level of neurocognitive impairment” and that

“neuropsychological testing in isolation would suggest that he has the cognitive ability to work

in some capacity and he would not meet cognitive criteria for a [T&P] [d]isability.” AR

JO01933-34. The Amended Complaint does not allege any defects in Dr. Rabun’s, Dr. Okai’s,

or Dr. Salisbury’s reports, examinations, or conclusions. AC ¶¶ 194-201.

       The NFLPBO sent Mr. Olawale and his attorney, Sam Katz, copies of the Neutral

Physicians’ reports and advised him of his right to respond before the Board issued a final

decision. AR JO-1040-41. Mr. Katz responded with a letter arguing only that Mr. Olawale

qualified for NC benefits. Specifically—in an argument that Mr. Olawale does not repeat in the

Complaint—Mr. Katz contended that he qualified for NC benefits based on low test results and

Dr. Salisbury’s report notations Mr. Olawale “showed inefficient learning of new verbal

information” and that his “relative difficulty initially acquiring new verbal information may

contribute to his reported cognitive complaints.” AR JO-1047.

       The Board unanimously denied Mr. Olawale’s appeal because no Neutral Physician

found him disabled. AR JO-1048-53; AC ¶ 201. The Board’s letter stated the reasons for the

denial, cited the relevant Plan provisions, and described Mr. Olawale’s appeal rights. AR JO-

1048-53. The letter acknowledged Mr. Katz’s challenge to Dr. Salisbury’s NC determination,

but explained that Dr. Salisbury’s evaluation revealed “generally preserved cognitive functioning

… which would not meet criteria for a level of neurocognitive impairment.” AR JO-1052. Dr.

Salisbury in fact concluded that Mr. Olawale showed “adequate retention of information over




                                               11
    Case 1:23-cv-00358-JRR          Document 116-4        Filed 11/19/24     Page 18 of 38



time,” that “[n]europsychological testing results shows generally preserved cognitive

functioning,” and “that he has the cognitive ability to work in some capacity.” AR JO-1033-34.

       Mr. Olawale filed this lawsuit on February 9, 2023. ECF No. 1.

Mr. Olawale’s Post-Complaint Approval for LOD Benefits

       On November 14, 2023, Mr. Olawale applied for LOD and NC benefits. Ex. J, Dec. 27,

2023 Comm. Decision Letter, at JO-1066. The Committee referred Mr. Olawale to three Neutral

Physicians: Dr. Prem Parmar, an orthopedist; Dr. David Clark, a neurologist; and Dr. Neal

Deutch, a neuropsychologist. Id. at JO-1066-67. Dr. Parmar concluded that Mr. Olawale’s

orthopedic impairments render him LOD disabled, while Dr. Clark and Dr. Deutch found that

Mr. Olawale did not have a mild or moderate neurocognitive impairment. Id. at JO-1066-68.

The Neutral Rule having been satisfied for LOD benefits, the Committee awarded them to Mr.

Olawale. Id. at JO-1066. He currently receives $5,180.00 each month. Id.; Vincent Decl. ¶ 40.

                                     LEGAL STANDARD

       A party is entitled to summary judgment when “there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).

In considering a motion for summary judgment, the Court construes “all facts and reasonable

inferences therefrom in the light most favorable to the nonmoving party.” United States v. 8.929

Acres of Land in Arlington Cnty. Va., 36 F.4th 240, 252 (4th Cir. 2022) (quotation omitted).

However, it is not Defendants’ burden to disprove Plaintiffs’ allegations. Rather, Mr. Olawale

“bears the burden of production under Rule 56 to ‘designate specific facts showing that there is a

genuine issue for trial.’” See Ricci v. DeStefano, 557 U.S. 557, 586 (2009) (quoting Celotex

Corp. v. Catrett, 477 U.S. 317, 324 (1986)).




                                               12
     Case 1:23-cv-00358-JRR         Document 116-4        Filed 11/19/24     Page 19 of 38



                                         ARGUMENT

I.     THE BOARD DID NOT ABUSE ITS DISCRETION IN DETERMINING THAT
       MR. OLAWALE WAS NOT ENTITLED TO BENEFITS UNDER THE PLAN’S
       TERMS

       In Count I, Mr. Olawale claims that his Plan benefits were wrongly denied under ERISA

§ 502(a)(1)(B). AC ¶¶ 280-89. Because the Plan gives the Board full and absolute discretion in

“construing its terms and determining eligibility for benefits,” the Court reviews the Board’s

denial of benefits for abuse of discretion. See Hayes v. Prudential Ins. Co. of Am., 60 F.4th 848,

851 (4th Cir. 2023) (citing Firestone Tire & Rubber Co. v. Bruch, 489 U.S. 101, 111 (1989)).

Under that standard, a court “will not disturb a plan administrator’s decision if the decision is

reasonable, even if [it] would have come to a contrary conclusion independently.” Geiger v.

Zurich Am. Ins. Co., 72 F.4th 32, 37 (4th Cir. 2023) (quoting Williams v. Metro. Life Ins. Co.,

609 F.3d 622, 629-30 (4th Cir. 2010)). Applying this standard, courts have regularly granted

summary judgment to the Plan in cases in which the Board exercised its discretion in applying

Plan terms. See, e.g., Boyd v. Bell, 796 F. Supp. 2d 682, 692 (D. Md. 2011) (granting summary

judgment for the Board and finding no abuse of discretion); Youboty v. NFL Player Disability,

856 F. App’x 497, 500-01 (5th Cir. 2021) (affirming district court’s use of abuse-of-discretion

standard and grant of summary judgment for the Board); Smith v. NFL Player Disability &

Neurocognitive Benefit Plan, 2024 WL 722594, at *6 (W.D. Tex. Jan. 9, 2024) (granting

summary judgment for the Plan), R&R adopted, 2024 WL 1123588 (W.D. Tex. Mar. 13, 2024).

       The Fourth Circuit applies an eight-factor test when reviewing the reasonableness of a

denial of a benefit claim by an ERISA-governed plan’s administrator. Booth v. Wal-Mart Stores,

Inc. Assocs. Health & Welfare Plan, 201 F.3d 335 (4th Cir. 2000). The factors are:

       (1) the language of the plan; (2) the purposes and goals of the plan; (3) the
       adequacy of the materials considered to make the decision and the degree to
       which they support it; (4) whether the fiduciary’s interpretation was consistent


                                               13
     Case 1:23-cv-00358-JRR                 Document 116-4             Filed 11/19/24          Page 20 of 38



         with other provisions in the plan and with earlier interpretations of the plan; (5)
         whether the decisionmaking process was reasoned and principled; (6) whether the
         decision was consistent with the procedural and substantive requirements of
         ERISA; (7) any external standard relevant to the exercise of discretion; and (8)
         the fiduciary’s motives and any conflict of interest it may have.

Id. at 342-43; see Vaughan v. Celanese Ams. Corp., 339 F. App’x 320, 329 (4th Cir. 2009)

(affirming grant of summary judgment for administrator under Booth factors); Geiger, 72 F.4th

at 40 (affirming grant of judgment on the record for administrator under Booth factors).

         Courts must consider the Booth factors “in the context of a ‘highly deferential’ standard

of review.” Geiger, 72 F.4th at 38 (citing Cosey v. Prudential Ins. Co. of Am., 735 F.3d 161, 168

(4th Cir. 2013)).        The question is not whether the Court would have reached the same

conclusion, but rather whether the Board’s decision resulted from a “deliberate, principled

reasoning process,” and was “supported by substantial evidence,” 3 i.e., “evidence which a

reasoning mind would accept as sufficient to support a particular conclusion.” Id. (citation

omitted). It “does not mean a large or considerable amount of evidence,” Giles v. Bert Bell/Pete

Rozelle NFL Player Ret. Plan, 925 F. Supp. 2d 700, 715 (D. Md. 2012) (alteration omitted)—but

rather is “less than a preponderance,” Schkloven v. Hartford Life & Accident Ins. Co., 2022 WL

2869266, at *23 (D. Md. July 21, 2022).

         As discussed below, each of the Booth factors weighs in favor of a determination that the

Board’s decision was reasonable and that it did not abuse its discretion in denying Mr. Olawale’s

application. The Board reasonably relied on eight Neutral Physicians’ reports that provided

substantial evidence supporting the Board’s decision, and the denial of the claim was the product

3
  This highly deferential standard of review recognizes that in deciding benefit claims, plan fiduciaries must strike “a
balance between the obligation to guard the assets of the trust from improper claims” and “the obligation to pay
legitimate claims.” Harrison v. Wells Fargo Bank, N.A., 773 F.3d 15, 20-21 (4th Cir. 2014) (citation omitted). This
balance “ensure[s] that individual claimants get the benefits to which they are entitled” while “protect[ing]
employees … from a contraction in the total pool of benefits available.” Evans v. Eaton Corp. Long Term Disability
Plan, 514 F.3d 315, 326 (4th Cir. 2008).




                                                          14
    Case 1:23-cv-00358-JRR            Document 116-4         Filed 11/19/24    Page 21 of 38



of reasoned decision making in accordance with the Plan’s procedures. Accordingly, Defendants

are entitled to summary judgment in their favor as to Mr. Olawale’s denial of benefits claim

because there is no triable issue of fact regarding the reasonableness of the Board’s decision.

       A.      The Board’s Decision Was Consistent With the Plan’s Terms, Which Are
               Plain and Unambiguous.

       The first Booth factor weighs in favor of finding that the Board did not abuse its

discretion because its determination was consistent with the plain “language of the [P]lan.”

Booth, 210 F.3d at 342. ERISA’s central tenet is that plan participants may only recover benefits

owed to them “under the terms of the plan.” 29 U.S.C. § 1132(a)(1)(B); see US Airways, Inc. v.

McCutchen, 569 U.S. 88, 102 (2013). Indeed, ERISA’s entire “statutory scheme … is built

around reliance on … written plan documents.” McCutchen, 569 U.S. at 100-01. In deciding an

ERISA claim, a court’s “principal function” is thus to “protect contractually defined benefits”

according to the “terms of the plan.” Id. at 100; see Firestone, 489 U.S. at 115 (ERISA analysis

“turn[s] on the interpretation of the terms in the plan”).

       ERISA requires the Court to enforce the plain language of the Plan. See Stolt-Nielsen

S.A. v. AnimalFeeds Int’l Corp., 559 U.S. 662, 682 (2010) (“[A]s with any other contract, the

parties’ intentions control.”); Mid Atl. Med. Servs., LLC v. Sereboff, 407 F.3d 212, 220 (4th Cir.

2005), aff’d, 547 U.S. 356 (2006). The Board, as administrator, must also enforce the Plan terms

as written. See Colucci v. Agfa Corp. Severance Pay Plan, 431 F.3d 170, 176 (4th Cir. 2005),

abrogated on other grounds by Champion v. Black & Decker (U.S.) Inc., 550 F.3d 353, 355 (4th

Cir. 2008). Although the Board has absolute discretion to interpret the Plan, DPD § 9.2, “the

administrator is not free to alter the terms of the [P]lan or to construe unambiguous terms other

than as written.” Colucci, 341 F.3d at 176; see also Giles, 925 F. Supp. 2d at 716. Disregarding

or altering the Plan’s terms “constitutes an abuse of discretion.” Giles, 925 F. Supp. at 716



                                                  15
    Case 1:23-cv-00358-JRR          Document 116-4         Filed 11/19/24     Page 22 of 38



(quoting Blackshear v. Reliance Standard Life Ins. Co., 509 F.3d 634, 639 (4th Cir. 2007)).

       Here, Mr. Olawale concedes that under the Plan’s terms, he cannot qualify for benefits

unless at least one Neutral Physician finds he meets the relevant Plan standard, AC ¶¶ 71, 76, 80,

and that he did not satisfy those standards in connection with his 2021 application or appeal

because none of the eight Neutral Physicians who examined him at that time found he met those

requirements. Id. ¶¶ 195, 197-98, 200; DPD §§ 3.1(d), 5.1(c), 6.1(e); AR AR JO-859-60, 876-

880, 889-890, 907-908, 925-26, 978-83, 993-94, 1012-13, 1026-27, 1038-39. Because Mr.

Olawale does not dispute that he failed to meet the Plan’s unambiguous “threshold requirement,”

AC ¶¶ 195, 197-98, 200; DPD §§ 3.1(d), 5.1(c), 6.1(e), it is undisputed that he did not qualify for

benefits under the Plan terms, AR JO-1048-53; DPD §§ 3.1(d), 5.1(c), 6.1(e).

       Proper application of the Plan terms thus not only permitted denial of Mr. Olawale’s

claim, it required it. See Youboty, 856 F. App’x at 499 (affirming summary judgment for Plan

where no Neutral Physician awarded the requisite points). As another district court recently held,

summary judgment for the Plan is warranted where, as here, there is “no question that the

Disability Board’s denial of [the player’s] appeal based on his failure to meet the Neutral Rule is

consistent with the terms of the Disability Plan.” Smith, 2024 WL 722594, at *6.

       Although the Board has “full and absolute discretion, authority, and power to interpret,

control, implement, and manage the Plan,” DPD § 9.2, it has no discretion to deviate from the

collectively bargained Plan terms. See Colucci, 431 F.3d at 176; Smith, 2024 WL 722594, at *6;

DPD § 9.2 (the Board is responsible for “implementing and administering the Plan, subject to the

terms of the Plan” (emphasis added)).       Awarding Mr. Olawale benefits without a Neutral

Physician’s finding of entitlement would have constituted a breach of the Board’s discretion,

regardless of Mr. Olawale’s arguments that the Plan should operate differently. See CIGNA




                                                16
       Case 1:23-cv-00358-JRR                Document 116-4             Filed 11/19/24         Page 23 of 38



Corp. v. Amara, 563 U.S. 421, 436 (2011) (explaining that § 502(a)(1)(B) does not allow a court

to change or alter the terms of a plan); Kress v. Food Emps. Lab. Rels. Ass’n, 391 F.3d 563, 569

(4th Cir. 2004); Pender v. Bank of Am. Corp., 788 F.3d 354, 362 (4th Cir. 2015).

           B.       The Board’s Decision Was Consistent with the Plan’s Purposes and Goals.

           The second Booth factor weighs for finding that the Board did not abuse its discretion.

Applying the Neutral Rule to deny Mr. Olawale’s claim is consistent with the goal the Players

Association and Management Council sought to achieve, in their capacity as Plan settlors, when

they collectively bargained to add the Neutral Rule to the Plan. See Booth, 201 F.3d at 343

(“The Plan does not authorize its administrators to make determinations … that frustrate the

purposes and goals of the Plan.”). The Neutral Rule balances “the need to ensure that individual

claimants get the benefits to which they are entitled with the need to protect employees and their

beneficiaries as a group from a contraction in the total pool of benefits available.” See Evans,

514 F.3d at 326. Eight Neutral Physicians evaluated Mr. Olawale and none found that he

satisfied the Plan’s standards for benefits. See supra at 9-12. Applying the Neutral Rule to deny

Mr. Olawale’s claim was consistent with the Plan’s goal to ensure its limited benefit resources

are preserved for participants who are entitled to them. Cf. Friz v. J&H Marsh & McLennan,

Inc., 2 F. App’x 277, 281 (4th Cir. 2001) (paying only those benefits that are authorized by plan

terms is consistent with the purposes and goals of the plan).

           C.       The Materials the Board Considered Were Adequate to Support Its Decision.

           The third Booth factor weighs for finding the Board did not abuse its discretion because

the materials the Board considered were adequate to support its decision. 4 Booth, 201 F.3d at

342 (factor 3). The Board’s decision was supported by substantial evidence, including the

4
    The Plan permits the Board to review materials in part through appointed advisors. See, e.g., DPD §§ 9.2(f), 9.9.




                                                           17
    Case 1:23-cv-00358-JRR           Document 116-4        Filed 11/19/24         Page 24 of 38



Neutral Physicians’ reports, the records Mr. Olawale submitted, and the Neutral Physicians’

expert analysis and clinical assessments of those records. AR JO-1048-53.              Each Neutral

Physician certified that they personally examined Mr. Olawale, and that they reviewed all of the

medical records submitted by him. AR JO-860, 878, 880, 890, 908, 926, 979, 983, 994, 1013,

1027, 1039. Each Neutral Physician accurately stated the relevant Plan standard for disability

and provided a reasoned explanation supporting their conclusions that neither their examination

nor Mr. Olawale’s records established that the standard was met. AR JO-859-60, 876-880, 889-

890, 907-908, 925-26, 978-83, 993-94, 1012-13, 1026-27, 1038-39; DPD §§ 3.1(d), 5.1(c),

6.1(e); supra at 9-12. Cumulatively, these materials provide more than adequate support for the

Board’s denial of Mr. Olawale’s benefit application. See Booth, 201 F.3d at 342; Schkloven,

2022 WL 2869266, at *25-26 (granting summary judgment for administrator where it relied on

the opinions of physicians retained to review the plaintiff’s medical records).

       Although Mr. Olawale disagrees with some of the Neutral Physicians’ conclusions, there

is no genuine dispute of material fact about adequacy of the materials the Board considered. See

Booth, 201 F.3d at 342; Wilson v. UnitedHealthcare Ins. Co., 27 F.4th 228, 238 (4th Cir. 2022);

see also Kane v. UPS Pension Plan Bd. of Trustees, 2013 WL 6502874, at *10 (D. Md. Dec. 11,

2013) (explaining in considering the third Booth factor, “the Board needed only ‘the quantum

and quality of relevant evidence that is more than a scintilla but less than a preponderance and

that a reasoning mind would accept as sufficient to support a particular conclusion’” (quoting

Donnell v. Metro. Life Ins. Co., 165 F. App’x 288, 295 (4th Cir. 2006)), aff’d, 584 F. App’x 109

(4th Cir. 2014). The Board was presented with the four consistent Neutral Physician reports,

none of which found that Mr. Olawale met the Plan’s disability standards, after thorough

examinations, testing, and fulsome review of Mr. Olawale’s records. AR JO-978-83, 993-94,




                                                18
    Case 1:23-cv-00358-JRR           Document 116-4        Filed 11/19/24      Page 25 of 38



1012-13, 1026-27, 1038-39.       The four Neutral Physicians who evaluated Mr. Olawale at the

Committee level also did not find he met the Plan’s standards. AR JO-859-60, 876-80, 889-90,

907-08, 925-26. The Board lacked authority to award benefits—notwithstanding Mr. Olawale’s

points of disagreement—because no Neutral Physician found that he met the Plan’s standards for

benefits. DPD §§ 3.1(d), 5.1(c), 6.1(e). Under the Plan’s express terms, he was ineligible for

benefits “regardless of any other fact(s), statement(s), or determination(s), by any other person or

entity, contained in the administrative record.” Id.

       Significantly, Mr. Olawale does not allege that the reports of four of these Neutral

Physicians (Dr. Okai, Dr. Salisbury, Dr. Rabun, and Dr. O’Rourke) contained any errors. AC

¶¶ 194-201. Mr. Olawale alleges that the Board’s decision was improper, id. ¶¶ 200-01, but his

arguments do not create a triable issue of fact.

       Mr. Olawale alleges that Dr. Saenz’s, Dr. Elkousy’s, and Dr. Brahin’s and reports

violated Plan terms because they misinterpreted medical records and tests. AC ¶¶ 196-97, 200.

Most of these claimed inconsistencies misstate the record. Others merely reflect Mr. Olawale’s

disagreement with these Neutral Physicians’ medical conclusions—which is not sufficient to

render their reports an inadequate basis for the Board’s determination. See Elliott v. Sara Lee

Corp., 190 F.3d 601, 606 (4th Cir. 1999) (“[I]t is not an abuse of discretion for a plan fiduciary

to deny disability pension benefits where conflicting medical reports were presented.”).

       For example, Mr. Olawale alleges that Dr. Saenz should have awarded points for

degenerative joint disease (“DJD”) in his hip, AC ¶ 196, but the Committee and Board

appropriately did not consider this condition because Mr. Olawale did not raise it in his

application, as Plan terms require. AR JO-570, 584-85; DPD § 5.4(h). Mr. Olawale also alleges

that Dr. Saenz’s report was internally inconsistent with regard to Mr. Olawale’s “Lumbar Stress




                                                   19
     Case 1:23-cv-00358-JRR                Document 116-4             Filed 11/19/24        Page 26 of 38



Fracture with Spondylolysis”—specifically, that Dr. Saenz’s conclusion that the condition arose

from an “injury” was inconsistent with his conclusion that it did not arise from League play. AC

¶ 196. 5 But those determinations are not inconsistent. Dr. Saenz found that there was “[n]o

supportive or conclusive documentation that this condition was incurred during scope of NFL

career,” AR JO-878, and it is that timing aspect rather than the cause generally that matters for

LOD benefits eligibility. Moreover, Dr. Saenz’s “injury” determination was merely a checkbox

indicating that all of Mr. Olawale’s complained-of orthopedic conditions were likely caused by

injury rather than illness. AR JO-879.

         Likewise, Mr. Olawale faults Dr. Elkousy for not awarding points for “lumbar stress

fracture with spondylosis” or for DJD of the knee and ankle. AC ¶ 200. But Dr. Elkousy

addressed those impairments; he found the spine and knee impairments of unknown etiology but

consistent with aging, and found no knee or ankle impairments that would qualify for LOD

points. AR JO-992. Mr. Olawale’s disagreement with these conclusions does not render Dr.

Elkousy’s report an inadequate basis for the Board’s decision. See Elliott, 190 F.3d at 606.

         Mr.    Olawale       similarly     claims     that     Dr.    Brahin’s      determination       that    his

“Visuospatial/Executive Functioning test” results were normal is inconsistent with his below-

normal score on the Montreal Cognitive Assessment (“MoCA”).                            AC ¶ 197.        But those

determinations are consistent: the Visuospatial/Executive Functioning test is only one section of

the overall MoCA score. AR JO-898. Dr. Brahin noted Mr. Olawale’s below-average MoCA

score, but added that “it is important to note that no other deficiencies were seen on this exam,”


5
  Mr. Olawale asserts that a Medical Advisory Physician has at other times awarded three points for “Lumbar Stress
Fracture with Spondylosis” for “L5-S1 pars defect,” AC ¶ 196 n.17, implying that Dr. Saenz should have awarded
Mr. Olawale three points. Defendants do not dispute that a “Lumbar Stress Fracture with Spondylosis” impairment
would be worth three points if it arose out of League football activities. See DPD § 5.1(c); id. at 70. But there was
no finding that it did.




                                                         20
    Case 1:23-cv-00358-JRR          Document 116-4        Filed 11/19/24     Page 27 of 38



and that patients with Mr. Olawale’s score “may or may not have true cognitive impairment.”

AR JO-903-04.

       Mr. Olawale also alleges that Defendants improperly “considered educational level and

prior training.” AC ¶ 283. But he provides no supporting details, see id. ¶¶ 194-201, and neither

the Committee’s nor the Board’s decision letters reflect that Defendants considered his

educational level or training. See AR JO-927-31, 1048-53.

       Mr. Olawale alleges that certain Neutral Physicians failed to consider his self-reported

symptoms—specifically, that Dr. Brahin and Dr. Norman ignored his self-reported complaints of

suicidal thoughts, AC ¶¶ 197-98, and that Dr. Elkousy did not consider his self-reported pain, id.

¶ 200. Mr. Olawale ignores portions of these Neutral Physicians’ reports. Dr. Brahin checked

“Yes” for “Suicidal thoughts” and noted that “Jamize has had fleeting thoughts of suicide, but

none that he considers to have been significant.” AR JO-896. Similar for Dr. Norman, who

concluded that although Mr. Olawale’s testing score showed moderately severe depression

(based solely on self reports), his full examination was not consistent with that result. AR JO-

864. Dr. Norman similarly acknowledged that Mr. Olawale expressed “passive thoughts of not

wanting to continue living,” but also that he emphasized that his “he is not suicidal,” that he

“would never attempt suicide,” and that he “denied any suicide attempts or current intent.” AR

JO-862, 866, 871, 873. And notably, Mr. Olawale does not allege any errors by Drs. Okai and

Rabun, who following their own examinations determined that Mr. Olawale had no “History of

suicide attempt,” “History of suicide thoughts,” or “Suicidal ideations,” AR JO-1018, 1022, and

that Mr. Olawale’s symptoms “would not qualify for major depression,” AR JO-1010.

       Mr. Olawale also alleges that Dr. Elkousy unreasonably dismissed his reports of pain.

AC ¶ 200. But Dr. Elkousy’s report documents complaints of pain, indicating that he considered




                                               21
    Case 1:23-cv-00358-JRR           Document 116-4        Filed 11/19/24      Page 28 of 38



the complaints and concluded that they did not qualify Mr. Olawale for benefits. See AR JO-

984-86, 988-92. ERISA does not require a plan or physician to defer to a patient’s subjective

complaints where objective evidence supports a finding of no disability. See, e.g., Balkin v.

Unum Life Ins. Co., 2024 WL 1346789, at *20-21 (D. Md. Mar. 29, 2024).

       Finally, Mr. Olawale makes the conclusory assertion that certain Neutral Physicians

failed to consider the cumulative impact of his impairments. See AC ¶¶ 198 (Norman), 200

(Elkousy). But Mr. Olawale does not identify any specific evidence of cumulative impairment

that the Neutral Physicians failed to consider, much less evidence that would have altered the

professional opinions they rendered. Each Neutral Physician was asked to apply their particular

professional expertise to assess the overarching question posed by the Plan with respect to all

disability applicants: whether Mr. Olawale met the Plan’s standards for disability benefits.

Neither found that he met those standards. AR JO-859-60, 978-83. Neutral Physicians are

instructed to inform the Plan if their evaluation identifies an area of medical concern outside of

their specialty that they think another specialist should review. Ortho. Manual JO-632; Psych.

Manuals JO-258, 287; Neuro. Manuals JO-317, 379.            Some of the Neutral Physicians did

identify a need to consult with or involve a professional with different expertise to assess certain

reported symptoms. See, e.g., AR JO-1025 (Okai suggesting Mr. Olawale see a psychiatrist for

an evaluation), 1033 (Salisbury suggesting psychiatric evaluation to rule out potential mood,

impulse control, and other disorders). In each case, a qualified professional performed the noted

assessment, but did not find Mr. Olawale disabled.

       Put simply, while Mr. Olawale has a litany of disagreements with decisions made in

connection with his applications, none of them are sufficient to raise a triable issue of fact

because the record is clear that the materials supporting the Board’s decision meet Booth’s




                                                22
    Case 1:23-cv-00358-JRR            Document 116-4      Filed 11/19/24      Page 29 of 38



standard for adequacy. See Booth, 201 F.3d at 342; Wilson, 27 F.4th at 238.

       D.      The Remaining Booth Factors All Support Finding that the Board’s Decision
               Was Reasonable.

       Factor 4.    The Board’s decision was consistent with other provisions and earlier

interpretations of the Plan. See Booth, 201 F.3d at 342. The Neutral Rule applies to every type

of benefit in the Plan. DPD §§ 3.1(d), 5.1(c), 6.1(e). And, since it went into effect, the Neutral

Rule has been applied consistently to deny benefits to players who failed to satisfy it. Vincent

Decl. ¶¶ 13-14; see also Youboty, 856 F. App’x at 500; Smith, 2024 WL 722594, at *5-6. It has

remained unchanged since the Management Council and Players Association collectively

bargained for it in 2017—well before the limitations period here. Vincent Decl. ¶¶ 13-14.

       Factor 5. The Board’s decision-making processes were “reasoned and principled.” See

Booth, 201 F.3d at 342. The Board “followed Plan procedures and policies throughout” its

review, see Wilson, 27 F.4th at 238-39 (affirming claim denial), including evaluation by eight

different Neutral Physicians at the Committee and Board levels who are experts in the fields of

Mr. Olawale’s claimed impairments. AR JO-859-60, 876-880, 889-890, 907-908, 925-26, 978-

83, 993-94, 1012-13, 1026-27, 1038-39. The Board provided reasoned explanations for its

denial of Mr. Olawale’s claim that were grounded in application of the Plan’s Neutral Rule. AR

JO-1048-53. No more was required. See Mullins v. AT&T Corp., 424 F. App’x 217, 224 (4th

Cir. 2011) (administrator’s review was reasoned and principled because it substantially complied

with plan’s procedures); Vaughan, 339 F. App’x at 327 (same; administrator acknowledged

receipt, allowed submission of additional information, stated why it denied the claims, quoted the

plan, and attached a plan summary).

       Mr. Olawale alleges that the Board’s consideration of analyses or summaries created by

the Party Advisors or Plan counsel as part of its review is somehow improper. See, e.g., AC



                                               23
     Case 1:23-cv-00358-JRR                Document 116-4            Filed 11/19/24         Page 30 of 38



¶¶ 41, 201, 284, 286, 302. This is incorrect. The Plan expressly permits the Board to rely on

consultants, professional plan administrators, counsel, and physicians when satisfying its duty to

“consider all information in the Player’s administrative record” when deciding claims. DPD

§§ 9.2(f), 9.9. ERISA also permits such reliance. See Brundle ex rel. Constellis Emp. Stock

Ownership Plan v. Wilmington Tr., N.A., 919 F.3d 763, 773 (4th Cir. 2019) (seeking expert

advice can show prudence); Tatum v. RJR Pension Inv. Comm., 761 F.3d 346, 358 (4th Cir.

2014) (same); cf. Garner v. Cent. States, Se. & Sw. Areas Health & Welfare Fund Active Plan,

31 F.4th 854, 858 (4th Cir. 2022) (“encourag[ing]” plan trustees to “rely on the independence

and expertise of unaffiliated doctors in making benefits determinations”). 6 Because Mr.

Olawale’s records were fully reviewed by the Board’s advisors and Neutral Physicians, Reynolds

Decl. ¶¶ 7-8; Williams Decl. ¶¶ 6-7; AR JO-860, 878, 880, 890, 908, 926, 979, 983, 994, 1013,

1027, 1039, the Plan is entitled to summary judgment without being required to show that each

individual Board member personally reviewed each page of voluminous underlying materials.

See Waldoch v. Medtronic, 757 F.3d 822, 832 (8th Cir. 2014) (permitting fiduciary to “delegate

claims processing functions to [a non-fiduciary third party] and rely on [the third party’s]

reasoning without compromising its obligation to provide a ‘full and fair review’”); AC ¶ 41.

        Factor 6. The Board complied with ERISA’s procedural and substantive requirements

because its processes and decision were “consistent with the language of the Plan,” and Mr.

Olawale “was fully aware of his rights and obligations under the Plan.” See Friz, 2 F. App’x at

282; Stewart v. Bert Bell/Pete Rozelle NFL Player Ret. Plan, 2012 WL 2374661, at *14 n.35 (D.

6
  Accord Gregg v. Transp. Workers of Am. Int’l, 343 F.3d 833, 841 (6th Cir. 2003) (“A fiduciary’s effort to obtain
an independent assessment serves as evidence that the fiduciary undertook a thorough investigation.”); Geddes v.
United Staffing All. Emp. Med. Plan, 469 F.3d 919, 926 (10th Cir. 2006) (administrator may delegate discretionary
authority to non-fiduciaries without compromising fiduciary duties); Hilton v. Unum Life Ins. Co. of Am., 967 F.
Supp. 2d 1114, 1116-17, 1124-25 (E.D. Va. 2013) (administrator’s benefits decision was not unreasonable where it
assigned an “[a]ppeals [s]pecialist” to review the contents of the plaintiff’s appeal and consulted two physicians).




                                                        24
     Case 1:23-cv-00358-JRR                Document 116-4            Filed 11/19/24         Page 31 of 38



Md. June 19, 2012) (same). Mr. Olawale does not dispute that the Board’s determination was

timely, see id., or that Mr. Olawale “was timely notified of [the Board’s] findings and next-step

rights to appeal the decision,” see Wilson, 27 F.4th at 239.

         Factor 7. This factor is not relevant to Mr. Olawale’s application, to which no external

standard applies. See Booth, 201 F.3d at 342-43. The Complaint suggests the NFL Concussion

Settlement should be considered for certain applications, see AC ¶ 288, but it in fact has no

bearing on the Plan’s disability eligibility standards. 7 In any event, Mr. Olawale does not allege

that he received a qualifying diagnosis under the NFL Concussion Settlement, AC ¶¶ 194-201.

         Factor 8. Finally, the Board had no conflict of interest. See Booth, 201 F.3d at 343.

Structural conflicts of interest occur where the same entity that administers the ERISA plan

determines eligibility and pays benefits out of its own pocket. Metro. Life Ins. Co. v. Glenn, 554

U.S. 108, 108 (2008); Fortier v. Principal Life Ins. Co., 666 F.3d 231, 236 n.1 (4th Cir. 2012)

(affirming grant of summary judgment to administrator despite conflict of interest under Glenn);

Vaughan, 339 F. App’x at 328 (same). That is not how this Plan is structured, and courts hearing

challenges to the Plan’s benefits denials have consistently found that it does not operate under a

conflict of interest. Dimry v. Bert Bell/Pete Rozelle NFL Player Ret. Plan, 487 F. Supp. 3d 807,

813 (N.D. Cal. 2020) (“[T]he Plan does not have a structural conflict that needed to be mitigated

as the Board consists equally of player representatives and NFL representatives.”), aff’d and

remanded on other grounds, 855 F. App’x 332 (9th Cir. 2021); Youboty v. NFL Player Disability

& Neurocognitive Benefit Plan, 2020 WL 5628020, at *6 (S.D. Tex. Aug. 17, 2020) (citing

Johnson v. Bert Bell/Pete Rozelle NFL Player Ret. Plan, 468 F.3d 1082, 1086 (8th Cir. 2006);


7
 Legal standards for other types of benefits outside the Plan are not relevant. See, e.g., Smith v. Cont’l Cas. Co.,
369 F.3d 412, 420 (4th Cir. 2004) (“[W]hat qualifies as a disability for social security disability purposes does not
necessarily qualify as a disability for purposes of an ERISA benefit plan.”).




                                                         25
    Case 1:23-cv-00358-JRR           Document 116-4        Filed 11/19/24      Page 32 of 38



Courson v. Bert Bell NFL Player Ret. Plan, 75 F. Supp. 2d 424, 431 (W.D. Pa. 1999), aff’d, 214

F.3d 136 (3d Cir. 2000); Morris v. Nat’l Football League Ret. Bd., 833 F. Supp. 2d 1374, 1386

(S.D. Fla. 2011), aff’d, 482 F. App’x 440 (11th Cir. 2012)), aff’d, 856 F. App’x 497 (5th Cir.

2021). Moreover, the Plan provides “structural protections” that substantially guard against

conflicts, including that “the Board’s reliance on independent physicians in making benefit

determinations would drastically diminish the significance of [the conflict of interest] factor in

the analysis.” Giles, 925 F. Supp. 2d at 717 (citing Boyd, 796 F. Supp. 2d at 691 n.2)); see also

Stewart, 2011 WL 10005532, at *2.

       Mr. Olawale alleges some Neutral Physicians are biased against finding disability based

on their higher income. Specifically, the Complaint alleges a practice of retaining and paying

more to Neutral Physicians with “extremely high benefits denial rates,” who “stood to benefit

financially from the repeat business” by issuing reports that would support a benefits denial “to

the Board’s liking.” AC ¶ 112. These arguments fail for several reasons.

       First, as a threshold matter, the proper focus of the Booth conflict inquiry is the Board,

not the Neutral Physicians. See, e.g., Hall v. Standard Ins. Co., 2005 WL 348266 at *4 (W.D. Va.

Feb. 10, 2005) (plaintiff was not entitled to discovery with regard to independent physician

consultant because “the relevant conflict of interest is that of the fiduciary”); Boyce v. Eaton

Corp. Long Disability Plan, 2017 WL 3037392, at *5 (W.D.N.C. July 18, 2017) (“The Fourth

Circuit [has] made clear that the pertinent inquiry is not the conflicts of the administrator’s

attorney but the conflicts of the administrator.”) (citing Colucci, 431 F.3d at 176); see also

Everette v. Liberty Life Assurance Co. of Bos., 2017 WL 2829673, at *11 (D. Md. June 29, 2017)

(evidence that doctors are “regularly retained and paid by plan administrators” is insufficient if a

plaintiff does “not provide any evidence that [the doctors] w[ere] biased in [his] case”). The




                                                26
      Case 1:23-cv-00358-JRR        Document 116-4        Filed 11/19/24     Page 33 of 38



record thus makes clear there was no relevant conflict of any kind under this Booth factor. And

even if it were the Neutral Physicians who were the proper focus of the inquiry, analysis of the

relevant data demonstrates that there are not, in fact, higher denial rates of applications

associated with those Neutral Physicians with higher compensation. See Lasater Decl. ¶¶ 20-54.

         As for the Board itself, the undisputed facts show there is no financial conflict. The

Board is composed equally of Management Council and Players Association Trustees. DPD

§ 9.1.   The Plan is funded by revenue-sharing agreement between the NFL (including the

Management Council) and the Players Association. Smith Decl. ¶ 3. No funds left over after

benefits are paid or denied go to the Board, the Management Council, or the Players Association.

Id. Moreover, Mr. Olawale was subsequently approved for benefits, see AR JO-1066,

undercutting his argument that the Board denied his previous application for financial reasons.

II.      DEFENDANTS ARE ENTITLED TO SUMMARY JUDGMENT ON COUNT II
         BECAUSE THE DENIAL LETTERS SENT TO MR. OLAWALE COMPLY
         WITH ERISA’S CLAIMS PROCEDURES

         Mr. Olawale alleges that Defendants violated ERISA Section 503(1)’s requirement to

“provide adequate notice in writing to any participant … whose claim … has been denied, setting

forth the specific reasons for such denial.” AC ¶¶ 290-95. The letters to Mr. Olawale show this

claim is meritless. ERISA does not require that decision letters recite every aspect of an

applicant’s record. See generally 29 C.F.R. § 2560.503-1(j)(6). Rather, a letter complies with

ERISA if, read in its entirety, it provides the claimant “with all the information necessary to

perfect” the claim. Switzer v. Benefits Admin. Comm., 2014 WL 4052855, at *12 (D. Md. Aug.

13, 2014) (denial letters were sufficient because they “stated that they were based upon findings

that [applicant] was capable of returning to work without restriction and/or was capable of

engaging in substantial gainful employment” (citation omitted)); Brown v. Covestro LLC Welfare

Benefits Plan, 2023 WL 8481914, at *11 (W.D. Pa. Nov. 15, 2023) (letter “substantially


                                               27
    Case 1:23-cv-00358-JRR         Document 116-4        Filed 11/19/24     Page 34 of 38



complied with the regulations by specifying the medical basis for denying benefits and provided

a sufficiently clear understanding of the administrator’s position to permit effective review”

(citation omitted)), R&R adopted, 2023 WL 8481352 (W.D. Pa. Dec. 7, 2023).

       Both the Committee Decision Letter and the Board Decision Letter satisfy this standard.

The letters cite the correct Plan standards, DPD §§ 3.1(d), 5.1(c), 6.1(e), and explain “the

specific reasons” for denying Mr. Olawale’s application: that no Neutral Physician concluded

that he was T&P, LOD, or NC disabled. AR JO-927-31, 1048-53. The letters further supply

additional information about the basis for the denial, including reliance on “[t]he views of

medical or vocational experts whose advice was obtained on behalf of the plan.” 29 C.F.R.

§ 2560.503-1(j)(6); AR JO-927-31, 1048-53. The Board letter states that the Board considered

the Neutral Physicians who examined him are specialists in the fields of Mr. Olawale’s claimed

impairments, have experience evaluating retired players and other athletes, reviewed all of Mr.

Olawale’s records, conducted physical examinations of him, and provided detailed reports

concluding that he did not meet the Plan’s standards for benefits. AR JO-1049-53. As the

instant lawsuit demonstrates, that was all of the information necessary to perfect Mr. Olawale’s

claim. The Committee letter is similar. See AR JO-927-31.

       Mr. Olawale alleges that the Committee and Board letters were inadequate because they

did not mention that he sought benefits on the basis of the combined effects of his impairments.

AC ¶¶ 199, 201. But the Board letter expressly states that “[t]he Disability Board … did

consider all of the impairments described by the Plan Neutral Physicians and review the medical

records” Mr. Olawale submitted. AR JO-1049 (emphasis added). Mr. Olawale’s broad ipse dixit

assertion that he was cumulatively disabled was not supported by any medical opinions or

findings that the cumulative impact of different types of claimed impairments rendered him




                                              28
       Case 1:23-cv-00358-JRR         Document 116-4         Filed 11/19/24      Page 35 of 38



unable to work, nor did Mr. Olawale present any specific arguments or examples of “cumulative

impairment” that the Board failed to consider.

         Finally, while Mr. Olawale is correct that the Board’s letter mistakenly refers to Dr.

Rabun as Dr. Strassnig, see id., this is a scrivener’s error. It is clear that the letter is relying on

Dr. Rabun’s report, not a report of Dr. Strassnig, as the letter accurately quotes findings from Dr.

Rabun’s report that Mr. Olawale’s psychiatric impairments do not render him disabled and that

he can engage in “any job from a psychiatric standpoint.” Id. (quoting Rabun PRF at JO-994).

Mr. Olawale does not allege anything incorrect or improper about Dr. Rabun’s examination,

report, or conclusion. See AC ¶¶ 194-201. One typographical error in a six-page letter does not

violate ERISA. Because the Board provided the adequate notice in its claim determinations that

ERISA requires, it is entitled to judgment on this claim.

III.     THE BOARD A CONDUCTED FULL AND FAIR REVIEW OF MR.
         OLAWALE’S BENEFITS CLAIM

         Count III alleges that Defendants did not conduct a “full and fair review” of certain

applications, failed to produce “requested information,” and failed to ensure that Plan provisions

are applied consistently. The undisputed record shows the Plan’s thorough process for reviewing

benefit applications and appeals and the thorough review of Mr. Olawale’s own claim. See

supra at 3-12. Mr. Olawale makes only one allegation specific to the Board’s treatment of his

claim—that the Board failed to put in place safeguards to ensure consistent application of Plan

standards.   AC ¶¶ 296-304.      But that allegation is based on the same alleged inconsistent

application of Plan standards that Mr. Olawale alleges in Count I, and it fails for the same reason.

Compare id., with id. ¶ 285; supra at 13-28; see Chavis v. Plumbers & Steamfitters Loc. 486

Pension Plan, 2018 WL 4052182, at *12 (citing Varity Corp. v. Howe, 516 U.S. 489, 513-15

(1996) (“[A] plaintiff may not simply claim denial of benefits under § 502(a)(1)(B), then



                                                  29
      Case 1:23-cv-00358-JRR        Document 116-4        Filed 11/19/24      Page 36 of 38



‘repackage’ that claim as one for breach of fiduciary duty under § 502(a)(3).”)). This Court

previously recognized that even if Mr. Olawale were to prevail on Count III, he “would not be

entitled to any additional or different remedy not otherwise available through Count I.” ECF No.

78 at 41. Moreover, there is no record of any information request from Mr. Olawale to which

Defendants failed to reply. Vincent Decl. ¶ 41.

IV.     MR. OLAWALE’S ALLEGATIONS OF BREACH OF FIDUCIARY DUTY FALL
        FAR SHORT OF CREATING A TRIABLE ISSUE OF FACT

        Finally, Mr. Olawale claims on behalf of the Plan that the Board Trustees should be

removed for alleged breaches of their fiduciary duties of loyalty and care. AC ¶¶ 330-49, 387.

The substantive allegations in Count V are derivative of Counts I, II, and III, and entry of

judgment for Defendants on those counts is dispositive of Count V as well. Indeed, there is no

evidence of the kind of egregious misconduct that could warrant removal, which is an

“extraordinary remedy” that should only be employed for “very egregious breaches” involving

“repeated and substantial violations of [the trustees’] responsibilities.” Compare Bidwell v.

Garvey, 743 F. Supp. 393, 399 (D. Md. 1990) (refusing to remove trustees despite imprudence

finding) (citations omitted), with Chao v. Malkani, 452 F.3d 290, 291 (4th Cir. 2006) (affirming

removal of fiduciaries after they repeatedly “attempt[ed] to raid the plan’s assets”); Restatement

(Second) of Trusts § 107 cmt. b (identifying “serious breach of trust” as a basis for removal).

The Fourth Circuit has cautioned that “removal can be detrimental for plan participants and

employers alike” because “[i]t imposes significant costs on plans,” and can “disrupt plan

administration” and “cause delay in participants receiving vital benefits.” Chao, 452 F.3d at 294.

                                        CONCLUSION

        For the foregoing reasons, this Court should grant summary judgment for Defendants on

all of Mr. Olawale’s claims.



                                                  30
    Case 1:23-cv-00358-JRR   Document 116-4    Filed 11/19/24     Page 37 of 38



Date: November 18, 2024              Respectfully submitted,

                                     /s/ Gregory F. Jacob
                                     Gregory F. Jacob (D. Md. Bar No. 06769)
                                     Meredith N. Garagiola (pro hac vice)
                                     O’MELVENY & MYERS LLP
                                     1625 Eye Street, N.W., 10th Floor
                                     Washington, DC 20006
                                     Telephone: (202) 383-5300
                                     Facsimile: (202) 383-5414
                                     Email: gjacob@omm.com
                                     Email: mgaragiola@omm.com

                                     Elizabeth L. McKeen (pro hac vice)
                                     O’MELVENY & MYERS LLP
                                     610 Newport Center Drive, 17th Floor
                                     Newport Beach, CA 92660
                                     Telephone: (949) 823-6900
                                     Facsimile: (949) 823-6994
                                     Email: emckeen@omm.com

                                     Attorneys for Defendants The NFL Player
                                     Disability & Survivor Benefit Plan, The NFL
                                     Player Disability & Neurocognitive Benefit
                                     Plan, The Bert Bell/Pete Rozelle NFL Player
                                     Retirement Plan, and The Disability Board of
                                     the NFL Player Disability & Neurocognitive
                                     Benefit Plan




                                     31
    Case 1:23-cv-00358-JRR          Document 116-4           Filed 11/19/24   Page 38 of 38



                                CERTIFICATE OF SERVICE

       I, Gregory F. Jacob, hereby certify that on November 18, 2024, I caused a copy of the

foregoing document to be served upon all counsel of record via the CM/ECF system for the

United States District Court for the District of Maryland.


                                                     /s/ Gregory F. Jacob
                                                     Gregory F. Jacob




                                                32
